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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :         Criminal No. 18-616 (RBK)
                                             :
KRISTIE MASUCCI                              :



            SENTENCING SUBMISSION NOTICE OF THE UNITED STATES

       Please be advised that, on this date, the United States submitted sentencing materials to

the Court in this case concerning the defendant.

                                             CRAIG CARPENITO
                                             United States Attorney

                                             /s/ R. David Walk, Jr.

                                             By: R. David Walk, Jr.
                                                 Christina O. Hud
                                             Assistant United States Attorneys

Date: August 5, 2019




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